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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Ubiquiti Networks, Inc.
                                       Plaintiff,
v.                                                        Case No.: 1:18−cv−05369
                                                          Honorable Gary Feinerman
Cambium Networks, Inc., et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 24, 2020:


        MINUTE entry before the Honorable Jeffrey Cummings: This Court has reviewed
the District Court's recent orders regarding the disclosure of certain documents to allow
the parties to adequately prepare for a successful settlement conference. Plaintiff shall
submit a pre−settlement conference demand letter in conformance with the Court's
Standing Order on Settlement Conferences to the Court's settlement correspondence
e−mail in−box (Settlement_Correspondence_Cummings@ilnd.usco urts.gov) by 7/6/20.
Defendants shall submit a pre−settlement conference offer letter by 7/20/20. By 7/1/20,
the parties shall jointly contact the Court's settlement correspondence e−mail in−box to
provide the Court with dates in August and September when they are mutually available
to proceed with a remote video settlement conference. Mailed notice (cc, )




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